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                            UNITED STATES BANKRUPTCY COURT
                               MIDDLE DISTRICT OF FLORIDA
                                  FORT MYERS DIVISION
                                    www.flmb.uscourts.gov

In re:                                                         Case No. 2:23-bk-00373-FMD
                                                               Chapter 11
H2O Investment Properties, LLC,

             Debtor.
_________________________________/

                     MOTION TO: (I) DETERMINE SECURED STATUS
                    OF CLAIM BY BCMB1 TRUST; AND (II) VOID LIEN

                              NOTICE OF OPPORTUNITY TO
                           OBJECT AND REQUEST FOR HEARING

         If you object to the relief requested in this paper you must file a response with the
         Clerk of Court at Sam Gibbons United States Courthouse, 801 N. Florida Avenue,
         Suite 555, Tampa, Florida 33602-3899 within thirty (30) days from the date of the
         attached proof of service, plus an additional three (3) days if this paper was served on
         any party by U.S. Mail.

         If you file and serve a response within the time permitted, the Court will either notify
         you of a hearing date or the Court will consider the response and grant or deny the
         relief requested in this paper without a hearing. If you do not file a response within
         the time permitted, the Court will consider that you do not oppose the relief requested
         in the paper, and the Court may grant or deny the relief requested without further
         notice or hearing.

         You should read these papers carefully and discuss them with your attorney if you
         have one. If the paper is an objection to your claim in this bankruptcy case, your claim
         may be reduced, modified, or eliminated if you do not timely file and serve a
         response.


         H2O Investment Properties, LLC, the above-captioned debtor and debtor in possession

(“Debtor”), by and through the undersigned legal counsel, pursuant to section 506(a)(1) of Title

11 of the United States Code (“Bankruptcy Code”), rule 3012 of the Federal Rules of Bankruptcy

Procedure (each a “Bankruptcy Rule” and, jointly and collectively, the “Bankruptcy Rules”), and
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Local Rule 3012-1, files this Motion to: (I) Determine Secured Status of Claim by BCMB1

Trust; and (II) Void Lien (“Motion”) and, as grounds therefor, respectfully states as follows:

                                        JURISDICTION

        1.     The United States District Court for the Middle District of Florida (“Court”) is the

proper venue for the above-captioned Chapter 11 bankruptcy case (this “Case”) pursuant to 28

U.S.C. § 89(b), 1408(1), and 1409. The Court’s Fort Myers Division is the appropriate place to

hold court under Local Rule 1071-1(b)(4).

        2.     Consideration of the Motion is a core proceeding pursuant to 28 U.S.C. §

157(b)(2)(A), (K). The statutory predicates for the relief requested herein include Bankruptcy

Code section 506(a)(1), Bankruptcy Rule 3012, and Local Rule 3012-1.

                                        BACKGROUND

        3.     On April 2, 2023 (the “Petition Date”), the Debtor filed its voluntary petition for

small business debtor reorganizational relief under Chapter 11, Subchapter V of the Bankruptcy

Code.

        4.     The Debtor owns that certain real property described as follows:

               Lot 2, Buck’s Landing, in the City of Wilsonville, County of
               Clackamas and State of Oregon as recorded in Plat Book 120,
               Page 8, of the Public Records of Clackamas County, Oregon.
(the “Wilsonville Property”).

        5.     A July 6, 2023 appraisal of the Wilsonville Property (the “Appraisal”) valuated

the Wilsonville Property at eight hundred eighty-five thousand and 00/100 dollars ($885,000.00).

A true and correct copy of the Appraisal is attached as Exhibit “A”.




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       6.      The Debtor scheduled Shell Point Mortgage Services1 (“Shell Point”) as holding a

claim totaling One Million Fifty Thousand Six Hundred and 00/100 Dollars ($1,050,600.00)

secured by the Wilsonville Property (the “Shell Point Lien”). The Shell Point Lien is a first

priority lien recorded on February 7, 2007 and bears Recording No. 2007-010909.

       7.      Planet Home Lending, LLC, as Servicer for BCMB1 Trust (“BCMB1”) timely

filed Proof of Claim No. 2 (the “BCMB1 Claim”), asserting a claim totaling Four Hundred Two

Thousand Nine Hundred Eighty-Seven and 00/100 Dollars ($402,987.00) secured by the

Wilsonville Property (the “BCMB1 Lien”). The BCMB1 Lien holds a second priority lien

recorded on February 7, 2007 after the Shell Point Lien, and bears Recording No. 2007-010910.

                                    RELIEF REQUESTED

       8.      The Debtor respectfully requests entry of an order: (i) granting the Motion; (ii)

determining the value of the Wilsonville Property is eight hundred eighty-five thousand and

00/100 dollars ($885,000.00); (iii) determining the value of the BCMB1 Lien totals zero and

00/100 dollars ($0.00); (iv) determining the BCMB1 Claim is unsecured; (v) voiding the

BCMB1 Lien; and (vii) granting the Debtor such other and further relief as the Court deems just

and proper.

                             BASES FOR RELIEF REQUESTED

       9.      BCMB1’s interest in the Wilsonville Property is valued at zero and 00/100 dollars

($0.00), and the BCMB1 Claim is not secured by other collateral, so BCMB1 holds a wholly

unsecured claim. Granting the Motion would carry out the Bankruptcy Code’s terms because

Bankruptcy Code section 506(a)(1) allows the relief requested, Bankruptcy Rule 3012 and Local




1
 The Shell Point Lien is identified on title reports as being in favor of Bank of New York
Mellon; it is believed that Shell Point is the servicer for Bank of New York Mellon.

                                                 3
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Rule 3012-1 provide appropriate means for granting the relief requested, and granting the relief

requested will ensure secured creditors are paid not less than the value of their interest in the

Wilsonville Property. Accordingly, the Court should grant the Motion.

       WHEREFORE, for the reasons set forth herein, the Debtor respectfully the Court enter an

order: (i) granting the Motion; (ii) determining the value of the Wilsonville Property is eight

hundred eighty-five thousand and 00/100 dollars ($885,000.00); (iii) determining the value of the

BCMB1 Lien totals zero and 00/100 dollars ($0.00); (iv) determining the BCMB1 Claim is

unsecured; (v) voiding the BCMB1 Lien; and (vii) granting the Debtor such other and further

relief as the Court deems just and proper.

Dated: July 12, 2023                                         Respectfully submitted,

                                                             DAL LAGO LAW
                                                             999 Vanderbilt Beach Road
                                                             Suite 200
                                                             Naples, FL 34108
                                                             Telephone: (239) 571-6877

                                                             By: /s/ Christian Garrett Haman
                                                             MICHAEL R. DAL LAGO
                                                             Florida Bar No. 102185
                                                             Email: mike@dallagolaw.com
                                                             CHRISTIAN GARRETT HAMAN
                                                             Florida Bar No. 1017079
                                                             Email: chaman@dallagolaw.com
                                                             JENNIFER M. DUFFY
                                                             Florida Bar No. 1028911
                                                             Email: jduffy@dallagolaw.com

                                                             Counsel for
                                                             H2O Investment Properties, LLC,
                                                             Debtor and Debtor in Possession




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                               CERTIFICATE OF SERVICE

       I CERTIFY that a true and correct copy of the foregoing shall be electronically served: (i)

through the Court’s CM/ECF Noticing system upon entry to all parties registered for service

including: United States Trustee – FTM, 501 E. Polk Street, Suite 1200, Tampa, Florida

33602; Mark C. Markham, Subchapter V Trustee, 401 E. Jackson Street, Suite 3100, Tampa,

FL 33602; Melbalynn Fisher, Esq., Counsel for Planet Home Lending, LLC, as Servicer for

BCMB1 Trust, Ghidotti | Berger, LLP, 1031 North Miami Beach Blvd., North Miami Beach,

FL 33162; and (ii) via First Class U.S. Mail to Manager, Planet Home Lending, LLC, as

Servicer for BCMB1 Trust, 321 Research Parkway, Suite 303, Meriden, CT 06450 this 12th

day of July 2023.

                                                           By: /s/ Christian Garrett Haman
                                                           CHRISTIAN GARRETT HAMAN
                                                           Florida Bar No. 1017079




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             EXHIBIT A
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For Ronnie Sapp
                                                                                           July 6, 2023

RE:   30620 SW ROSE LN
      WILSONVILLE, OR 97070

Dear Ronnie,

At your request, I have prepared an appraisal report of the above referenced property. The purpose of
this appraisal is to estimate the market value of the property described herein for market valuation
purposes.

Enclosed, please find the appraisal report which describes certain data gathered during our investigation
of the property. The methods of approach and reasoning in the valuation of the various physical and
economic factors of the subject property are contained in this report.

Based on my investigation and analysis of available information, the concluded Fee Simple market value
of the subject is:

                                               $985,000



The valuation is subject to the Assumptions and Limiting Conditions section of the following report, as
well as the explanatory comments within the report, which should be referenced for a complete
understanding of the value conclusions.

It has been a pleasure to assist you!




Sincerely,

PAULSEN APPRAISAL INC.




_________________________________
Chris E. Paulsen
Oregon Certified Residential Appraiser
License No. CR00224
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                APPRAISAL REPORT
                                OF




                           30620 SW ROSE LN
                         WILSONVILLE, OR 97070




                   PREPARED FOR

                             RONNIE SAPP
                             RONNIE SAPP




                            AS OF

                               07/01/2023




                    PREPARED BY

                           CHRIS PAULSEN
                            P.O. BOX 4594
                          TUALATIN, OR 97062
                                                                                               PAULSEN APPRAISAL INC.
                                                                                                                                                           File No. F23-182
SAPP
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                                                                                 Residential Appraisal Report
                The purpose of this appraisal report is to provide the client with an accurate, and adequately supported, opinion of the market value of the subject property.
                Property Address 30620 SW ROSE LN                                                             City WILSONVILLE                                State OR     Zip Code 97070
                Owner H20 INVESTMENT PROPERTIES LLC                            Intended User RONNIE SAPP                                             County CLACKAMAS
                Legal Description BUCKS LANDING PT LOT 2
                Assessor's Parcel #       05003796                                                                             Tax Year 2022                        R.E. Taxes $ 13,544.08
                Neighborhood Name MONTGOMERY                                                                 Map Reference 31W24A03203                              Census Tract 0227.10
 SUBJECT


                Occupant          Owner        Tenant X Vacant Special Assessments $                          0                    PUD        HOA $             0               per year   per month
                Property Rights Appraised X Fee Simple                  Leasehold        Other (describe)
                Intended Use MARKET VALUATION FOR PERSONAL PURPOSES
                Client RONNIE SAPP                                                    Address
                 Is the subject property currently offered for sale or has it been offered for sale in the twelve months prior to the effective date of this appraisal? X Yes           No
                 Report data source(s) used, offerings price(s), and date(s). THE SUBJECT PROPERTY WAS LISTED FOR SALE ON 10/26/2022 FOR $1,450,000. IT WAS ON THE MARKET FOR 204 DAY
                WITH NO PRICE ADJUSTMENTS. THIS LISTING WAS CANCELED ON 5/18/2023.
                I      did         did not analyze the contract for sale for the subject purchase transaction. Explain the results of the analysis of the contract for sale or why the analysis was not
                performed.
 CONTRACT




                Contract Price $                      Date of Contract                Is the property seller the owner of public record?    Yes       No Data Source(s)
                Is there any financial assistance (loan charges, sale concessions, gift or downpayment assistance, etc.) to be paid by any party on behalf of the purchaser?             Yes      No
                If Yes, report the total dollar amount and describe the items to be paid.


                Note: Race and the racial composition of the neighborhood are not appraisal factors.
                         Neighborhood Characteristics                                One-Unit Housing Trends                                          One-Unit Housing Present Land Use %
                Location    Urban      X Suburban       Rural       Property Values     Increasing   X Stable     Declining                          PRICE         AGE One-Unit           90         %
                Built-Up X Over 75%        25-75%       Under 25% Demand/Supply         Shortage     X In Balance Over Supply                        $ (000)        (yrs) 2-4 Unit                   %
 NEIGHBORHOOD




                                                                                                                                                                                          0
                Growth      Rapid      X Stable         Slow        Marketing Time X Under 3 mths      3-6 mths   Over 6 mths                         800    Low      1   Multi-Family    0          %
                Neighborhood Boundaries THE NEIGHBORHOOD BOUNDARIES ARE RIVERFRONT PROPERTIES ALONG THE WILLAMETTE RIVER.                            4,500   High    110  Commercial      3          %
                                                                                                                                                     1,500   Pred. 50     Other PARK       7         %
                Neighborhood Description THE SUBJECT IS LOCATED IN THE CITY OF WILSONVILLE APPROXIMATELY 15 MILES SOUTH OF DOWNTOWN PORTLAND. THIS IMMEDIATE NEIGHBORHOOD
                INCLUDES A MIX HOMES STYLES WITH MANY HIGHER QUALITY CUSTOM HOMES AND A RANGE MAINTENANCE LEVELS AND UPDATING. IT HAS AVERAGE+ APPEAL AND MEETS THE MARKET
                EXPECTATIONS FOR PROPERTIES WITHIN THIS PRICE RANGE.
                Market Conditions (including support for the above conclusions) THE SUBJECT MARKET COOLED IN 2022 AS INTEREST RATES INCREASED RAPIDLY TO COMBAT THE HIGH INFLATION
                LEVELS. SUPPLY AND DEMAND ISSUES ARE STILL PREVALENT IN THE OVERALL MARKET WITH LIMITED INVENTORIES AND DEMAND STEADY. EVEN WITH THE COST OF MONEY DOUBLING IN
                THE PAST 18 MONTHS THIS MARKET IS STABLE.
                Dimensions SEE PLAT MAP                                              Area 36,155                      Shape Irregular                             View RES/WATER
                Specific Zoning Classification RA-H - (CITY OF WILSONVILLE)           Zoning Description RESIDENTIAL AGRICULTURAL HOLDING
                Zoning Compliance X Legal               Legal Nonconforming (Grandfathered Use)        No Zoning       Illegal (describe)
                Is the highest and best use of subject property as improved (or as proposed per plans and specifications) the present use? X Yes                   No If No, describe.

                Utilities Public Other (describe)                                      Public Other (describe)                  Off-site Improvements--Type         Public Private
                Electricity X                                        Water                                                  Street ASPHALT
 SITE




                                                                                          X                                                                            X
                Gas             X                                    Sanitary Sewer       X                                 Alley NOT APPLICABLE
                FEMA Special Flood Hazard Area X Yes                  No FEMA Flood Zone AE                    FEMA Map # 41005C0242D                FEMA Map Date 06/17/2008
                Are the utilities and/or off-site improvements typical for the market area? X Yes       No If No, describe.
                Are there any adverse site conditions or external factors (easements, encroachments, environmental conditions, land uses, etc.)?    Yes X No If Yes, describe.
                A PRELIMINARY TITLE REPORT WAS NOT PROVIDED. THE SITE IS ACCESSED WITH AN EASEMENT ACROSS THE ADJACENT PROPERTY TO THE WEST BUT HAS NO NEGATIVE IMPACT. THE
                SUBJECT IS RIVER FRONTAGE ALONG THE WILLAMETTE RIVER. IT HAS DIRECT RIVER ACCESS WITH PRIVATE DOCK. THE FLOOD PLAIN WAS RAISED AFTER THE FLOODS IN 1996. THE
                SUBJECT IS NOW LOCATED IN THE 100 YEAR FLOOD PLAIN.
                             General Description                                Foundation                     Exterior Description       materials/condition Interior          materials/condition
                 Units X One          One with Accessory Unit           Concrete Slab X Crawl Space Foundation Walls CONCRETE/AVERAGE                          Floors      HARDWOOD/POOR
                 # of Stories 1                                         Full Basement X Partial Basement Exterior Walls            WOOD LAP/POOR               Walls       DRYWALL/POOR
                 Type X Det.          Att.     S-Det./End Unit Basement Area               780         sq. ft. Roof Surface        COMPOSITION/POOR            Trim/Finish WOOD/POOR
                  X Existing       Proposed      Under Const. Basement Finish                             % Gutters & Downspouts METAL/POOR                    Bath Floor VINYL/POOR
                Design (Style) DAY RANCH                                Outside Entry/Exit      Sump Pump Window Type              WOOD/POOR                   Bath Wainscot FIBERGLASS/POOR
                Year Built            1949                         Evidence of      Infestation                 Storm Sash/Insulated NONE/NONE                 Car Storage         None
                Effective Age (Yrs)                                     Dampness         Settlement             Screens            NONE                          X Driveway # of Cars 5
                  Attic                     None                   Heating X FWA         HWBB        Radiant Amenities                    Woodstove(s) # 0     Driveway Surface ASPHALT
                      Drop Stair            Stairs                      Other          Fuel Elec                 X Fireplace(s) # 1       Fence                 X Garage       # of Cars 2
                      Floor             X Scuttle                  Cooling         Central Air Conditioning X Patio/Deck Patio X Porch COV. FRONT                  Carport # of Cars
 IMPROVEMENTS




                      Finished              Heated                      Individual      Other                       Pool NONE           X Other DOCK               Att.        Det.        Built-in
                 Appliances X Refrigerator X Range/Oven X Dishwasher X Disposal X Microwave X Washer/Dryer                                  Other (describe)
                 Finished area above grade contains:              6      Rooms        3      Bedrooms         1.50   Bath(s)        2,857     Square Feet of Gross Living Area Above Grade
                 Additional features (special energy efficient items, etc.) THE SUBJECT HAS FORCED AIR ELECTRIC HEAT AND ONE WOOD FIREPLACE. THERE IS A COVERED FRONT PORCH, REAR
                PATIO, AVERAGE LANDSCAPING AND PILINGS FOR A FUTURE DOCK. SEE COMMENTS ON PAGE 3.
                 Describe the condition of the property (including needed repairs, deterioration, renovations, remodeling, etc.). THE SUBJECT IS AN AVERAGE QUALITY DAY RANCH STYLE SINGLE
                FAMILY RESIDENCE IN POOR CONDITION




                 Are there any physical deficiencies or adverse conditions that affect the livability, soundness, or structural integrity of the property?       Yes X No If Yes, describe




                 Does the property generally conform to the neighborhood (functional utility, style, condition, use, construction, etc.)?    X Yes           No If No, describe



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                                                                                                                       PAULSEN APPRAISAL INC.
                                                                                                                                                                                            File No. F23-182
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                                                                                                    Residential Appraisal Report
                              There are     11   comparable properties currently offered for sale in the subject neighborhood ranging in price from $                                     875,000           to $          3,850,000        .
                              There are     16   comparable sales in the subject neighborhood within the past twelve months ranging in sale price from $                                       801,000        to $    3,400,000                    .
                                   FEATURE                  SUBJECT                 COMPARABLE SALE # 1                       COMPARABLE SALE # 2                                                        COMPARABLE SALE # 3
                             Address 30620 SW ROSE LN                       37300 NE WILSONVILLE RD                      23765 BUTTEVILLE RD                                                      6549 FAILING ST
                                          WILSONVILLE, OR 97070                           NEWBERG, OR 97132                                    AURORA, OR 97002                                   WEST LINN, OR 97068
                             Proximity to Subject                                         5.62 miles W                                         5.03 miles W                                       8.24 miles NE
                             Sale Price                   $                                                          $ 1,250,000                                       $ 1,200,000                                         $ 1,225,000
                             Sale Price/Gross Liv. Area   $ 0.00               sq. ft. $ 391.60                       sq. ft.                  $ 848.66                 sq. ft.                   $ 771.90                  sq. ft.
                             Data Source(s)                                               RMLS #23171661;DOM 0                                 RMLS#23333785;DOM 0                                RMLS#22011108;DOM 5
                             Verification Source(s)                                       CO. RECORD/EXT. INSPECTION                           AGENT/CO. RECORD/EXT. INSPECTION                   AGENT/CO. RECORD/EXT. INSPECTION
                             VALUE ADJUSTMENTS                   DESCRIPTION                     DESCRIPTION               +(-) $ Adjustment      DESCRIPTION                 +(-) $ Adjustment      DESCRIPTION                  +(-) $ Adjustment
                             Sale or Financing                                            CASH                                             0 CASH                                             0 CONV. LOAN                                             0
                             Concessions                                                  NONE                                             0 NONE                                             0 NONE                                                   0
                             Date of Sale/Time                                            05/23/2023                                       0 05/31/2023                                       0 10/03/2022                                             0
                             Location                     RESIDENTIAL                     RESIDENTIAL                                          RESIDENTIAL                                        RESIDENTIAL
                             Leasehold/Fee Simple         FEE SIMPLE                      FEE SIMPLE                                           FEE SIMPLE                                         FEE SIMPLE
                             Site                         36,155 sf                       2.2 ACRES                                  -80,000 1.61 ACRES                                -125,000 20,909 sf                                              0
                             View                         RES/WATER                       WOODS/WATER                                          RES/WATER                                          RES/WATER
                             Design (Style)               DAY RANCH                       TWO STORY                                            CABIN                                              DAY RANCH
                             Quality of Construction      AVERAGE                         AVERAGE                                              AVERAGE                                            AVERAGE
                             Actual Age                   73 yrs                          43 yrs                                           0 43 yrs                                               34 yrs                                               0
                             Condition                    POOR                            FAIR/SUPERIOR                             -125,000 FAIR/SL. SUPERIOR                          -50,000 AVERAGE+/SUPERIOR                          -300,000
                             Above Grade                  Total Bdrms. Baths Total Bdrms. Baths                                                Total Bdrms. Baths                                 Total Bdrms. Baths
                             Room Count                      6        3        1.50          7         3         3.0                              6       3         2.0                              4       1          1.5
                             Gross Living Area                            2,857 sq. ft.                    3,192 sq. ft.                   0                  1,414 sq. ft.                                       1,587 sq. ft.
                             Basement & Finished          780 sf                          NONE                                                 NONE                                               1,136 SF FINISHED
                             Rooms Below Grade                                            NONE                                                 NONE                                               FAM/3 BED/BATH
 SALES COMPARISON ANALYSIS




                             Functional Utility           AVERAGE                         AVERAGE                                              AVERAGE                                            AVERAGE
                             Heating/Cooling              FA ELECT/NONE                   FA ELECT/CENT. A/C                               0 ZONAL ELECT/NONE                                     FAG/CENTRAL A/C
                             Energy Efficient Items       NONE                            NONE                                                 NONE                                               NONE
                             Garage/Carport               NONE                            NONE                                                 NONE                                               2 CAR ATTACHED                                       0
                             Porch/Patio/Deck             COV. PORCH/PATIO                COV. PORCH/DECK                                  0 COV. PORCH/PATIO                                     COV. POR/COV. DECK                                   0
                             Fireplaces                   1 WOOD FIREPLACE                1 WOOD FIREPLACE                                     1 WOOD FIREPLACE                                   2 GAS/ELECT FIREPLACES                               0
                             FENCE/LANDSCAPE              NONE/LNDSCP AVG                 NONE/SIMILAR                                         NONE/SIMILAR                                       NONE/SUPERIOR
                             ADDIT. IMPROVEMENTS          PILINGS FOR DOCK                DOCK                                       -20,000 NONE                                       +25,000 WATER FEATURE                                  +25,000
                             Net Adjustment (Total)                                      + X -            $    -225,000           + X -             $    -150,000                                      + X -                      $    -275,000
                             Adjusted Sale Price                                Net Adj: -18%                             Net Adj: -13%                                                           Net Adj: -22%
                             of Comparables                                     Gross Adj : 18%           $    1,025,000  Gross Adj: 17%            $    1,050,000                                Gross Adj: 27%                  $    950,000
                             I X did         did not research the sale or transfer history of the subject property and comparable sales. If not, explain



                             My research        did X did not reveal any prior sales or transfers of the subject property for the three years prior to the effective date of this appraisal.
                             Data source(s) RMLS/COUNTY RECORDS
                             My research        did X did not reveal any prior sales or transfers of the comparable sales for the year prior to the date of sale of the comparable sale.
                             Data source(s) RMLS/COUNTY RECORDS
                             Report the results of the research and analysis of the prior sale or transfer history of the subject property and comparable sales (report additional prior sales on page 3).
                                          ITEM                                 SUBJECT                     COMPARABLE SALE # 1                  COMPARABLE SALE # 2                  COMPARABLE SALE # 3
                             Date of Prior Sale/Transfer
                             Price of Prior Sale/Transfer
                             Data Source(s)                      RMLS AND COUNTY RECORDS              RMLS AND COUNTY RECORDS              RMLS AND COUNTY RECORDS              RMLS AND COUNTY RECORDS
                             Effective Date of Data Source(s) 07/06/2023                              07/06/2023                           07/06/2023                           07/06/2023
                             Analysis of prior sale or transfer history of the subject property and comparable sales ACCORDING TO RMLS AND COUNTY RECORDS, THE SUBJECT HAS NOT BEEN INVOLVED IN A
                             TITLE TRANSFER OR SALES TRANSACTION IN THE PREVIOUS THREE YEARS PRIOR TO THE EFFECTIVE DATE OF THIS REPORT. UPON REVIEW OF RMLS AND COUNTY RECORDS, THERE
                             HAVE BEEN NO OTHER SALES OF THE COMPARABLES FOR THE YEAR PRIOR TO THE DATE OF SALE SUMMARIZED ABOVE.




                             Summary of Sales Comparison Approach               THE SUBJECT IS RIVER FRONTAGE ON THE WILLAMETTE RIVER. AN EXPANDED SEARCH FOR RIVER FRONT SALES ALONG THE WILLAMETTE
                             RIVER THAT WOULD COMPETE WITH THE SUBJECT WAS REQUIRED DUE TO THE SUBJECT'S UNIQUE CHARACTERISTICS. THE SUBJECT'S MARKET HAS COOLED (SEE NEIGHBORHOOD
                             COMMENTS ON PAGE 1). COMPS #4 & #5 ARE OLDER SALES FROM WHEN THE MARKET WAS INCREASING RAPIDLY AND REQUIRED MARKET ADJUSTMENTS. DUE TO THE LACK OF RIVER
                             FRONT LAND SALES, INDIVIDUAL LOCATION, SITE SIZE, SUN ASPECT, UTILITY AND VIEW ADJUSTMENTS WERE NOT MADE AS THESE ARE ALL COMPONENTS OF A TOTAL SITE VALUE AND
                             DUE TO THE LIMITED LAND SALES AND MARKET INFORMATION THESE INDIVIDUAL ADJUSTMENTS COULD NOT BE EXTRAPOLATED. THEREFORE, EACH COMP WAS ANALYZED WITH ONE
                             OVERALL SITE VALUE ADJUSTMENT MADE. ALL OF THE COMPS ARE SUPERIOR AS THEY HAVE BUILDING ENVELOPES THAT ARE OUTSIDE OF THE 100 YEAR FLOOD PLAIN. COMP #3 HAD
                             NO ADJUSTMENT AS THIS SITE HAS NO POTENTIAL FOR A DOCK WHICH OFF SET ANY SITE VALUE ADJUSTMENT. THE REMAINING COMPS ALL HAD SUPERIOR OVERALL SITE VALUES DUE
                             TO SIZE, LOCATION AND LACK OF FLOOD PLAIN ISSUES. SEE ADDITIONAL COMMENTS UNDER COMPS #4 - #6.
                             Indicated Value by Sales Comparison Approach $                        985,000
                             Indicated Value by: Sales Comparison Approach $                           985,000         Cost Approach (if developed) $                     0          Income Approach (if developed) $
                             THE SALES COMPARISON APPROACH IS GIVEN PRIMARY EMPHASIS AS IT BEST REFLECTS THE ACTIONS OF BUYERS AND SELLERS IN THIS MARKET. THE COST APPROACH IS NOT
 RECONCILIATION




                             DEVELOPED DUE TO THE LACK OF RECENT LAND SALES AND THE DIFFICULTY OF ESTIMATING THE CONTRIBUTEABLE VALUE THE CURRENTS. THE INCOME APPROACH WAS NOT
                             DEVELOPED DUE TO THE LACK OF MARKET RENTAL DATA.
                             This appraisal is made X "as is,"              subject to completion per plans and specifications on the basis of a hypothetical condition that the improvements have been
                             completed,        subject to the following repairs or alterations on the basis of a hypothetical condition that the repairs or alterations have been completed, or   subject to the
                             following required inspection based on the extraordinary assumption that the condition or deficiency does not require alteration or repair:

     Based on a complete visual inspection of the interior and exterior areas of the subject property, defined scope of work, statement of assumptions and limiting
     conditions, and appraiser's certification, my (our) opinion of the market value, as defined, of the real property that is the subject of this report is
     $        985,000     , as of            07/01/2023            .
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                                                                                                        PAULSEN APPRAISAL INC.
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                                                                                   Residential Appraisal Report
                       AS SUMMARIZED AHEAD IN THE SCOPE OF WORK SECTION, THE APPRAISER IS NOT A HOME INSPECTOR AND ANY DEFECTS NOT VISUALLY APPARENT IS BEYOND THE SCOPE OF THE
                       APPRAISER'S LICENSES AND ABILITIES. THE APPRAISER IS NOT QUALIFIED TO ESTIMATE THE REMAINING ECONOMIC LIFE OF A ROOF, THE PRESENCE OF UNDERGROUND OIL TANKS
                       AND ANY LEAKAGE ATTRIBUTED BY THEM, THE PRESENCE OF HAZARDOUS SUBSTANCES OF RADON, MOLD ISSUES, DAMAGES TO SEWER OR WATER SOURCES, OR ANY ESTIMATE OF
                       DAMAGES THAT MIGHT BE ATTRIBUTED TO ANY OF THESE SYSTEMS. THE APPRAISER MAKES NO WARRANTIES ON THE STRUCTURAL OR MECHANICAL (ELECTRICAL AND PLUMBING
                       INCLUDED) INTEGRITY OF THE SUBJECT PROPERTY. A PROFESSIONAL HOME INSPECTION BY A QUALIFIED HOME INSPECTOR IS ALWAYS RECOMMENDED FOR ANY PROPERTY
                       TRANSACTION.


                       THE COST APPROACH TO VALUE (IF DEVELOPED) SHOULD BE INTERPRETED AS AN APPROXIMATION ONLY WITH MINOR DEVIATIONS IN ACTUAL SQUARE FOOTAGE BEING OF LITTLE OR
                       NO VALUE CONSEQUENCE. SQUARE FOOTAGE IS DERIVED FROM THE EXTERIOR OF THE DWELLING (IN SOME CASES INTERIOR MEASUREMENTS ARE PROVIDED) WITH SOME
                       ESTIMATIONS NEEDED WHEN LIMITED ACCESS EXISTS (SHRUBBERY, PERSONAL PROPERTY, ETC).


                       SITE VALUE COMMENTS: RIVER FRONT LAND SALES IN COMPETING AREAS ARE NOT OCCURRING. THERE IS NO VACANT LAND SO TYPICALLY AN OLD HOME IS REMOVED TO MAKE WAY
                       FOR NEW DEVELOPMENT. THERE IS A WIDE RANGE OF HOMES THAT ARE ELIGIBLE TO BE REMOVED FOR NEW DEVELOPMENT. HOWEVER, SITE VALUES OF RIVER FRONT PROPERTIES
                       VARY DUE TO SIZE, UTILITY, VIEW AND DEPTH OF WATER AND FLOOD PLAIN.
 ADDITIONAL COMMENTS




                       HIGHEST AND BEST USE COMMENT: THE SUBJECT IS IN THE RA-H ZONE PER THE CITY OF WILSONVILLE. THE SITE IS A LEGAL LOT OF RECORD. THE SUBJECT HAS NO ADDITIONAL
                       DEVELOPMENT POTENTIAL. THE HIGHEST AND BEST USE IS ONE RESIDENTIAL PROPERTY. THE SUBJECT IS BELOW THE TYPICAL QUALITY AND CONDITION LEVELS EXPECTED FOR
                       THIS HIGHER END RIVER FRONT NEIGHBORHOOD


                       SUBJECT COMMENTS: THE SUBJECT PROPERTY HAS BEEN VACANT AND NEGLECTED OVER THE PAST YEARS. PER CONVERSATIONS WITH THE CURRENT OWNER THE PROPERTY HAD
                       SQUATTERS LIVING IN IT THAT DID SIGNIFICANT DAMAGE AND VANDALIZED THE HOME. IT IS AN OLDER VINTAGE OF HOME FOR THIS APPEALING NEIGHBORHOOD AREA. COMBINED
                       WITH THE POOR CONDITION OF THE PROPERTY AND THAT THE EXISTING HOME IS IN THE 100 YEAR FLOOD PLAIN THE CURRENT IMPROVEMENTS PROVIDE MINIMAL CONTRIBUTEABLE
                       VALUE TO THE SITE. THE PRIMARY VALUE THE CURRENT IMPROVEMENTS IS THE COST SAVINGS IN THE PERMITTING PROCESS AS PERMITS FOR A REPLACEMENT DWELLING ARE
                       BETWEEN $30,000 AND $50,000 LESS THAN APPLYING FOR A NEW HOME PERMIT. THEREFORE, IN THE ADJUSTMENT GRID THE CURRENT IMPROVEMENTS ARE ONLY ASSIGNED
                       $40,000. ALSO, AT THE INSPECTION THE DOCK WAS GONE AND ONLY THE PILINGS WERE IN PLACE. PER CONVERSATION WITH THE OWNER, THE OLD DOCK WAS SWEPT AWAY. IN AN
                       OLDER AERIAL PHOTO THERE IS A PICTURE OF THE DOCK AND IT WAS SINKING.




                                                                                         COST APPROACH TO VALUE (if applicable)
                       Support for the opinion of site value (summary of comparable land sales or other methods for estimating site value) THE COST APPROACH IS NOT DEVELOPED DUE TO THE
                       LACK OF RECENT COMPARABLE LAND SALES AND THE DIFFICULTY OF ESTIMATING THE CONTRIBUTEABLE VALUE OF THE IMPROVEMENTS DUE TO CONDITION AND HIGHEST AND BEST
                       USE ISSUES.
 COST APPROACH




                       ESTIMATED           REPRODUCTION OR X REPLACEMENT COST NEW                                       OPINION OF SITE VALUE                                     =$
                       Source of cost data LOCAL BUILDER COST ESTIMATES                                                 Dwelling        2,857        Sq. Ft. @ $                  =$     0
                       Quality rating from cost service      AVERAGE      Effective date of cost data     07/01/2023   Bsmt.                780      Sq. Ft. @ $                  =$     0
                       Comments on Cost Approach (gross living area calculations, depreciation, etc.)
                       - COST DATA HAS BEEN DERIVED USING LOCAL BUILDER'S COST ESTIMATES.                               Garage/Carport                Sq. Ft. @ $                 =$     0
                       - SUBJECT SITE VALUE IS BASED ON AREA LAND SALES AND EXTRACTION.                                 Total Estimate of Cost-new                                =$     0
                       - SEE ATTACHED FLOOR PLANS FOR ROOM LAYOUT                                                       Less         Physical 31 Functional 0 External        0
                       - THE SUBJECT'S LAND TO TOTAL VALUE RATIO IS TYPICAL FOR THIS MARKET AREA.                       Depreciation         0             0        0             =$ (   0        )
                                                                                                                        Depreciated Cost of Improvements                          =$     0
                                                                                                                        "As-is" Value of Site Improvements                        =$

                       Estimated Remaining Economic Life (HUD and VA only)                                      Years Indicated Value By Cost Approach                            =$     0
                                                                                      INCOME APPROACH TO VALUE (if applicable)
 INCOME




                       Estimated Monthly Market Rent $       N/A          X Gross Multiplier    N/A       =$                      Indicated Value by Income Approach
                       Summary of Income Approach (including support for market rent and GRM) SINGLE FAMILY RESIDENCES LIKE THE SUBJECT ARE NOT TYPICALLY PURCHASED AS
                       INCOME-PRODUCING PROPERTIES. THERE IS LIMITED SALES DATA AVAILABLE TO CONCLUDE AN ACCURATE GROSS RENT MULTIPLIER.
                                                                                   PROJECT INFORMATION FOR PUDs (if applicable)
                       Is the developer/builder in control of the Homeowner's Association (HOA)?        Yes        No Unit type(s)         Detached          Attached
                       Provide the following information for PUDs ONLY if the developer/builder is in control of the HOA and the subject property is an attached dwelling unit.
                       Legal Name of Project
                       Total number of phases                     Total number of units                 Total number of units sold
 PUD INFORMATION




                       Total number of units rented               Total number of units for sale        Data source(s)
                       Was the project created by the conversion of existing building(s) into a PUD?       Yes        No If Yes, date of conversion.
                       Does the project contain any multi-dwelling units?       Yes       No Data source.
                       Are the units, common elements, and recreation facilities complete?        Yes        No If No, describe the status of completion.


                       Are the common elements leased to or by the Homeowner's Association?                    Yes        No If Yes, describe the rental terms and options.


                       Describe common elements and recreational facilities.

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                                                                                                              PAULSEN APPRAISAL INC.
                                                                                                             EXTRA COMPARABLES 4-5-6
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                                                                                                                                                                      File No. F23-182

                                Owner H20 INVESTMENT PROPERTIES LLC
                                Property Address 30620 SW ROSE LN
                                City          WILSONVILLE           County                                       CLACKAMAS                   State             OR               Zip Code                97070
                                Client                     RONNIE SAPP                                                Address



                                  FEATURE                      SUBJECT                 COMPARABLE SALE #       4                           COMPARABLE SALE #           5             COMPARABLE SALE #                 6
                            Address 30620 SW ROSE LN                             13348 FIELDING RD                                   7130 SW MONTGOMERY WAY                    6740 SW MONTGOMERY WAY
                                     WILSONVILLE, OR 97070                       LAKE OSWEGO, OR 97034                               WILSONVILLE, OR 97070                     WILSONVILLE, OR 97070
                            Proximity to Subject                                 10.17 miles NE                                      0.12 miles NE                             0.32 miles E
                            Sale Price                   $                                         $ 1,070,550                                        $ 1,200,000                               $ 1,485,000
                            Sale Price/Gross Liv. Area   $ 0.00          sq. ft. $ 517.67           sq. ft.                          $ 526.32          sq. ft.                 $ 624.21          sq. ft.
                            Data Source(s)                                       RMLS#21286443;DOM 1                                 RMLS #20352731;DOM 0                      RMLS#23295869;DOM 4
                            Verification Source(s)                               AGENT/CO. RECORD/EXT. INSPECTION                    AGENT/CO. RECORD/APPRAISAL                CO. RECORD/EXT. INSPECTION
                            VALUE ADJUSTMENTS               DESCRIPTION                  DESCRIPTION             +(-) $ Adjustment     DESCRIPTION         +(-) $ Adjustment     DESCRIPTION                +(-) $ Adjustment
                            Sale or Financing                                      CASH                                          0 CONV. LOAN                              0 PENDING SALE                                      0
                            Concessions                                            NONE                                          0 NONE                                    0 PENDING SALE                                      0
                            Date of Sale/Time                                      06/03/2021                              +42,000 01/15/2021                        +72,000 PENDING SALE                                      0
                            Location                     RESIDENTIAL               RESIDENTIAL                                     RESIDENTIAL                               RESIDENTIAL
                            Leasehold/Fee Simple         FEE SIMPLE                FEE SIMPLE                                      FEE SIMPLE                                FEE SIMPLE
                            Site                         36,155 sf                 23,522 sf                              -100,000 1.34 ac                          -150,000 1.31 AC                                  -150,000
                            View                         RES/WATER                 RES/WATER                                       RES/WATER                                 RES/WATER
                            Design (Style)               DAY RANCH                 TRADITIONAL                                   0 CUSTOM                                  0 CUSTOM                                            0
                            Quality of Construction      AVERAGE                   AVERAGE                                         AVERAGE                                   AVERAGE
                            Actual Age                   74 yrs                    74 yrs                                        0 55 yrs                                  0 53 yrs                                          0
                            Condition                    POOR                      FAIR/SL. SUPERIOR                       -50,000 FAIR/SL. SUPERIOR                 -50,000 AVERAGE/SUPERIOR                         -250,000
                            Above Grade                  Total Bdrms. Baths Total Bdrms. Baths                                       Total Bdrms. Baths                        Total Bdrms. Baths
                            Room Count                   6      3      1.50          6       3         1.5                             6      1      1.5             -25,000     8      3         3.0
                            Gross Living Area            2,857           sq. ft.                 2,068 sq. ft.                               2,280 sq. ft.                                  2,379 sq. ft.
                            Basement & Finished          780 sf                    NONE                                         0 2346 SF FINISHED                         0 NONE
                            Rooms Below Grade                                                                                     FAM/2 BED/1 BATH                           NONE
                            Functional Utility  AVERAGE                            AVERAGE                                        AVERAGE                                    AVERAGE
                            Heating/Cooling     FA ELECT/NONE                      FA ELECT/NONE                                  FAG/CENT. A/C                            0 FAG/CENTRAL A/C
SALES COMPARISON ANALYSIS




                            Energy Efficient Items
                                                NONE                               NONE                                           NONE                                       NONE
                            Garage/Carport      NONE                               2 CAR CARPORT                                0 1 CAR DETACHED                           0 2 CAR CAR PORT                                    0
                            Porch/Patio/Deck    COV. PORCH/PATIO                   C. PORCH/PATIO                                 COV. POR/COV. PATIO                      0 COV. POR/COV. DECK                                0
                            Fireplaces          1 WOOD FIREPLACE                   1 WOOD FIREPLACE                               2 WOOD FIREPLACE                         0 2 GAS FIREPLACES
                            FENCE/LANDSCAPE     NONE/LNDSCP AVG                    NONE/SIMILAR                                 0 NONE/SIMILAR                             0 NONE/SIMILAR                                   0
                            ADDIT. IMPROVEMENTS PILINGS FOR DOCK                   NONE                                   +25,000 DOCK/SHOP                          -50,000 DOCK/BOAT HSE                           -100,000
                            Net Adjustment (Total)                                       + X -                   $    -83,000           + X -              $    -203,000          + X -         $                -500,000
                            Adjusted Sale Price                                    Net Adj: -8%                                      Net Adj: -17%                             Net Adj: -34%
                            of Comparables                                         Gross Adj : 20%               $    987,550        Gross Adj: 29%        $    997,000        Gross Adj: 34%               $    985,000

                            Report the results of the research and analysis of the prior sale or transfer history of the subject property and comparable sales
                                         ITEM                                 SUBJECT                   COMPARABLE SALE # 4                   COMPARABLE SALE # 5                       COMPARABLE SALE #                  6
                            Date of Prior Sale/Transfer
                            Price of Prior Sale/Transfer
                            Data Source(s)                      RMLS AND COUNTY RECORDS              RMLS AND COUNTY RECORDS               RMLS AND COUNTY RECORDS                    RMLS AND COUNTY RECORDS
                            Effective Date of Data Source(s) 07/06/2023                              12/15/2022                            12/15/2022                                 12/15/2022
                            Analysis of prior sale or transfer history of the subject property and comparable sales SEE PREVIOUS PAGE.




                             Summary of Sales Comparison Approach COMMENTS CONTINUED: COMPS #1 AND #2 ARE IN SLIGHTLY INFERIOR NEIGHBORHOOD AREAS BUT ARE ON LARGER SITES. COMP #1 HAS
                            A LOWER ADJUSTMENT DUE TO IT'S IRREGULAR SHAPE AND TOPOGRAPHY. COMP #4 IS SMALLER BUT WAS ADJUSTED FOR IT'S SUPERIOR LAKE OSWEGO LOCATION AND NEIGHBORHOOD
                            APPEAL. COMPS #5 AND #6 ARE IN THE IMMEDIATE NEIGHBORHOOD BUT HAVE SUPERIOR LARGER SITES THAT DON'T HAVE FLOOD PLAIN ISSUES. AS NOTED ON PAGE 3, THE VALUE OF
                            THE SUBJECT IMPROVEMENTS WERE ONLY VALUED BASED ON THE SAVING IN PERMITTING FOR A REPLACEMENT DWELLING. THIS IS DUE TO CONDITION, FLOOD PLAIN AND OLD DESIGN.
                            A SEARCH FOR HOMES ON THE RIVER THAT HAVE THE HIGH PROBABILITY TO BE REMOVED WERE UTILIZED. HOWEVER, ALL OF THE COMPS HAD SUPERIOR IMPROVEMENT VALUES THAN
                            THE SUBJECT. COMPS #4 AND #6 A FUNCTIONAL HOMES WITH MUCH HIGHER OVERALL IMPROVEMENT VALUES. CONSIDERING OVERALL IMPROVEMENT VALUES WERE ASSIGNED, THERE
                            IS NO NEED FOR ADDITIONAL SF ADJUSTMENTS TO BE MADE. THE REMAINING ADJUSTMENTS ARE FOR VARIOUS MINOR AMENITIES AND ADDITIONAL SITE IMPROVEMENTS. THE SUBJECT'S
                            DOCK WAS SWEPT AWAY BUT THE PILINGS ARE STILL IN PLACE AND HAVE SIGNIFICANT VALUE. THE COMPS BRACKETED THE SUBJECT'S SITE IMPROVEMENTS. AN ADJUSTED
                            COMPARABLE RANGE IS $950,000 TO $1,050,000. CONSIDERING THE SUBJECT'S CONDITION, FLOOD PLAIN ISSUES AND DESIGN, A CONCLUDED VALUE OF $985,000 IS REASONABLE AND
                            SUPPORTABLE.




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    This appraisal report is subject to the scope of work, intended use, intended user, definition of market value, statement of assumptions
    and limiting conditions, and certifications. The Appraiser may expand the scope of work to include any additional research or analysis
    necessary based on the complexity of this appraisal assignment.


    SCOPE OF WORK: The scope of work for this appraisal is defined by the complexity of this appraisal assignment and the
    reporting requirements of this appraisal report form, including the following definition of market value, statement of
    assumptions and limiting conditions, and certifications. The appraiser must, at a minimum: (1) research, verify, and analyze data from
    reliable public and/or private sources, and (2) report his or her analysis, opinions, and conclusions in this appraisal report.


    DEFINITION OF MARKET VALUE: The definition of market value is the most probable price which a property
    should bring in a competitive and open market under all conditions requisite to a fair sale, the buyer and seller, each
    acting prudently, knowledgeably and assuming the price is not affected by undue stimulus. Implicit in this definition is the
    consummation of a sale as of a specified date and the passing of title from seller to buyer under conditions whereby: (1) buyer and
    seller are typically motivated; (2) both parties are well informed or well advised, and each acting in what he or she considers his
    or her own best interest; (3) a reasonable time is allowed for exposure in the open market; (4) payment is made in terms of cash
    in U. S. dollars or in terms of financial arrangements comparable thereto; and (5) the price represents the normal consideration for
    the property sold unaffected by special or creative financing or sales concessions* granted by anyone associated with the sale.

    *Adjustments to the comparables must be made for special or creative financing or sales concessions. No adjustments are
    necessary for those costs which are normally paid by sellers as a result of tradition or law in a market area; these costs are
    readily identifiable since the seller pays these costs in virtually all sales transactions. Special or creative financing
    adjustments can be made to the comparable property by comparisons to financing terms offered by a third party institutional
    lender that is not already involved in the property or transaction. Any adjustment should not be calculated on a mechanical
    dollar for dollar cost of the financing or concession but the dollar amount of any adjustment should approximate the market's
    reaction to the financing or concessions based on the appraiser's judgment.

    STATEMENT OF ASSUMPTIONS AND LIMITING CONDITIONS: The appraiser's certification in this report is
    subject to the following assumptions and limiting conditions:

    1. The appraiser will not be responsible for matters of a legal nature that affect either the property being appraised or the title
    to it, except for information that he or she became aware of during the research involved in performing this appraisal. The
    appraiser assumes that the title is good and marketable and will not render any opinions about the title.

    2. The appraiser may have provided a sketch in this appraisal report to show the approximate dimensions of the improvements.
    The sketch is included only to assist the reader in visualizing the property and understanding the appraiser's determination
    of its size.

    3. The appraiser has examined the available flood maps that are provided by the Federal Emergency Management Agency
    (or other data sources) and has noted in this appraisal report whether any portion of the subject site is located in an
    identified Special Flood Hazard Area. Because the appraiser is not a surveyor, he or she makes no guarantees, express or
    implied, regarding this determination.

    4. The appraiser will not give testimony or appear in court because he or she made an appraisal of the property in question,
    unless specific arrangements to do so have been made beforehand, or as otherwise required by law.

    5. The appraiser has noted in this appraisal report any adverse conditions (such as needed repairs, deterioration, the
    presence of hazardous wastes, toxic substances, etc.) observed during the inspection of the subject property or that he or
    she became aware of during the research involved in performing this appraisal. Unless otherwise stated in this appraisal
    report, the appraiser has no knowledge of any hidden or unapparent physical deficiencies or adverse conditions of the
    property (such as, but not limited to, needed repairs, deterioration, the presence of hazardous wastes, toxic substances,
    adverse environmental conditions, etc.) that would make the property less valuable, and has assumed that there are no such
    conditions and makes no guarantees or warranties, express or implied. The appraiser will not be responsible for any such
    conditions that do exist or for any engineering or testing that might be required to discover whether such conditions exist.
    Because the appraiser is not an expert in the field of environmental hazards, this appraisal report must not be considered as
    an environmental assessment of the property.

    6. The appraiser has based his or her appraisal report and valuation conclusion for an appraisal that is subject to satisfactory
    completion, repairs, or alterations on the assumption that the completion, repairs, or alterations of the subject property will
    be performed in a professional manner.




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    APPRAISER'S CERTIFICATION: I certify that, to the best of my knowledge and belief:

    1. The reported analyses, opinions, and conclusions are limited only by the reported assumptions and limiting conditions, and are my
    personal, impartial, and unbiased professional analyses, opinions, and conclusions.

    2. I   have X have no present or prospective interest in the property that is the subject of this report and                                    have X have no
    personal interest with respect to the parties involved.

    3. I    have performed X have not performed services, as an appraiser or in any other capacity, regarding the property that is the
    subject of this report within the three-year period immediately preceding acceptance of this assignment.

    4. I have no bias with respect to the property that is the subject of this report or to the parties involved with this assignment.

    5. My engagement in this assignment was not contingent upon developing or reporting predetermined results.

    6. My compensation for completing this assignment is not contingent upon the development or reporting of a predetermined value or
    direction in value that favors the cause of this client, the amount of the value opinion, the attainment of a stipulated result, or the occurrence
    of a subsequent event directly related to the intended use of this appraisal.

    7. My analyses, opinions, and conclusions, were developed, and this report has been prepared, in conformity, with the Uniform Standards
    of Professional Appraisal Practice

    8. I X have             have not made a personal inspection of the property that is the subject of this report.

    9. Unless otherwise noted, no one has provided significant real property appraisal assistance to the person signing this certification.


    SUPERVISORY APPRAISER'S CERTIFICATION: The Supervisory Appraiser certifies and agrees that:

    1. I directly supervised the appraiser for this appraisal assignment, have read the appraisal report, and agree with the appraiser's
    analysis, opinions, statements, conclusions, and the appraiser's certification.

    2. I accept full responsibility for the contents of this appraisal report including, but not limited to, the appraiser's analysis, opinions,
    statements, conclusions, and the appraiser's certification.

    3. The appraiser identified in this appraisal report is either a sub-contractor or an employee of the supervisory appraiser (or the
    appraisal firm), is qualified to perform this appraisal, and is acceptable to perform this appraisal under the applicable state law.

    4. This appraisal report complies with the Uniform Standards of Professional Appraisal Practice that were adopted and
    promulgated by the Appraisal Standards Board of The Appraisal Foundation and that were in place at the time this appraisal
    report was prepared.

    5. If this appraisal report was transmitted as an "electronic record" containing my "electronic signature," as those terms are
    defined in applicable federal and/or state laws (excluding audio and video recordings), or a facsimile transmission of this
    appraisal report containing a copy or representation of my signature, the appraisal report shall be as effective, enforceable and
    valid as if a paper version of this appraisal report were delivered containing my original hand written signature.



    APPRAISER                                                                                         SUPERVISORY APPRAISER (ONLY IF REQUIRED)



    Signature                                                                                         Signature
    Name      CHRISTIAN E. PAULSEN                                                                    Name
    Company Name PAULSEN APPRAISAL INC.                                                               Company Name
    Company Address P.O. BOX 4594                                                                     Company Address
                             TUALATIN, OR 97062
    Telephone Number (503)522-2990                                                                    Telephone Number
    Email Address chris@paulsenappraisal.com                                                          Email Address
    Date of Signature and Report 07/06/2023                                                           Date of Signature
    Effective Date of Appraisal 07/01/2023                                                            State Certification #
    State Certification # CR00224                                                                     or State License #
    or State License #                                                                                State
    or Other (describe)                                    State #                                    Expiration Date of Certification or License
    State       OR
    Expiration Date of Certification or License 07/31/2023
                                                                                                      SUBJECT PROPERTY
    ADDRESS OF PROPERTY APPRAISED
    30620 SW ROSE LN                                                                                      Did not inspect subject property
    WILSONVILLE, OR 97070                                                                                 Did inspect exterior of subject property from street
                                                                                                          Date of Inspection
    APPRAISED VALUE OF SUBJECT PROPERTY $                                   985,000                       Did inspect interior and exterior of subject property
    CLIENT                                                                                                Date of Inspection
    Contact RONNIE SAPP
    Client Name     RONNIE SAPP                                                                       COMPARABLE SALES
    Client Address                                                                                      Did not inspect exterior of comparable sales from street
                                                                                                        Did inspect exterior of comparable sales from street
    Email Address                                                                                       Date of Inspection
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                                                    COMMENT ADDENDUM
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Borrower                                                          RONNIE SAPP
Property Address                                                    30620 SW ROSE LN
City             WILSONVILLE           County             CLACKAMAS            State               OR            Zip Code            97070
Lender/Client                  RONNIE SAPP                  Address


    SCOPE OF THE APPRAISAL

    THE FOLLOWING STEPS WERE FOLLOWED IN ARRIVING AT A FINAL VALUE ESTIMATE FOR THE SUBJECT PROPERTY: 1) - AFTER RECEIVING THE
    ASSIGNMENT, THE APPRAISER MAKES A PRELIMINARY SEARCH OF AVAILABLE RESOURCES. THE SEARCH IS TO DETERMINE MARKET TRENDS,
    INFLUENCES AND OTHER SIGNIFICANT FACTORS PERTINENT TO THE SUBJECT PROPERTY. 2) - THE APPRAISER THEN MAKES A PHYSICAL INSPECTION
    OF THE PROPERTY. ALTHOUGH DUE DILIGENCE IS EXERCISED AT THE TIME OF THE INSPECTION, THE APPRAISER IS NOT AN EXPERT IN SUCH MATTERS
    AS PEST CONTROL, STRUCTURAL ENGINEERING, ETC. AND THERE IS NO WARRANTY GIVEN TO THESE ELEMENTS. AS NEEDED, INSPECTIONS BY
    VARIOUS PROFESSIONALS WITHIN THESE FIELDS MIGHT BE RECOMMENDED WITH THE FINAL VALUE ESTIMATE SUBJECT TO THEIR FINDINGS. 3) - A
    SECOND REVIEW OF DATA IS PERFORMED WITH THE MOST RELEVANT FACTORS EXTRACTED AND CONSIDERED. SALES ARE EXAMINED AND DISCUSSED
    WITH PARTIES INVOLVED OR VERIFIED PER DATA SOURCES THOUGHT RELIABLE. ALL SALES INCLUDED IN THIS REPORT CLOSED ESCROW ON THE
    DATES INDICATED UNLESS OTHERWISE NOTED. MARKET FACTORS ARE WEIGHTED AND THEIR INFLUENCE ON THE SUBJECT PROPERTY DETERMINED.
    4) - THE APPRAISAL REPORT IS COMPLETED IN ACCORDANCE WITH UNIFORM STANDARDS OF PROFESSIONAL APPRAISAL PRACTICE AS DICTATED BY
    THE APPRAISAL FOUNDATION; THE CODES AND ETHICS DICTATED BY THE APPRAISAL INSTITUTE AND LENDER GUIDELINES. THE REPORT INCLUDES ARE
    DATA AND INFORMATION NEEDED TO LEAD A READER TO A SIMILAR VALUE CONCLUSION. 5) - THE APPRAISAL REPORT IS DELIVERED TO THE
    LENDER/CLIENT AS NAME ON THE URAR (PAGE 1 AND COVER) WHICH IS THE COMPLETION OF THE ASSIGNMENT. THE APPRAISAL REPORT IS DELIVERED
    USING ELECTRONIC TRANSMISSION AND IS ASSUMED NOT TO ALTER THE REPORT IN ANY WAY WHICH WOULD MAKE IT LESS COMPLETE OR ACCURATE.

    INTENDED USER

    THE INTENDED USER OF THIS APPRAISAL REPORT IS THE LENDER/CLIENT. THE INTENDED USE IS TO EVALUATE THE PROPERTY THAT IS THE SUBJECT
    OF THIS APPRAISAL FOR MARKET VALUATION PURPOSES, SUBJECT THE STATED SCOPE OF WORK, PURPOSE OF THE APPRAISAL REPORTING
    REQUIREMENTS OF THIS APPRAISAL REPORT FORM, AND DEFINITION OF MARKET VALUE. NO ADDITIONAL INTENDED USERS ARE IDENTIFIED BY THE
    APPRAISER. PARTIES WHO RECEIVE A COPY OF THE APPRAISAL REPORT AS A CONSEQUENCE OF DISCLOSURE REQUIREMENT APPLICABLE TO AN
    APPRAISER'S CLIENT DO NOT BECOME INTENDED USERS OF THE REPORT UNLESS THEY WERE SPECIFICALLY IDENTIFIED AS INTENDED USERS BY THE
    APPRAISER AT THE TIME OF THE ASSIGNMENT.

    MARKETING TIME AND EXPOSURE TIME

    MARKETING TIME IS THE PERIOD OF TIME IT TAKES AN INTEREST IN REAL PROPERTY TO SELL ON THE MARKET SUBSEQUENT TO THE DATE OF AN
    APPRAISAL. EXPOSURE TIME IS THE ESTIMATED LENGTH OF TIME THE PROPERTY INTEREST BEING APPRAISED WOULD HAVE BEEN ON THE MARKET
    PRIOR TO THE HYPOTHETICAL CONSUMMATION OF A SALE AT MARKET VALUE ON THE EFFECTIVE DATE OF APPRAISAL; A RETROSPECTIVE OPINION
    BASED ON AN ANALYSIS OF PAST EVENTS ASSUMING A COMPETITIVE AND OPEN MARKET. MARKETING TIME DIFFERS FROM EXPOSURE TIME IN THAT
    EXPOSURE TIME IS PRESUMED TO PRECEDE THE DATE OF APPRAISAL. THE MARKETING TIME HAS BEEN PROJECTED ABOVE.

    EXPOSURE TIME IS BEST ESTABLISHED UPON THE EXPERIENCE OF RECENT COMPARABLES SALES AND DISCUSSIONS WITH MARKET PARTICIPANTS.
    BASED ON THIS INFORMATION AND CONSIDERING THE PHYSICAL CHARACTERISTICS AND LOCATION OF THE SUBJECT PROPERTY, A REASONABLE
    ESTIMATE OF EXPOSURE TIME FOR THE SUBJECT IS APPROXIMATELY 180 DAYS.

    STATEMENT OF APPRAISAL INDEPENDENCE AND APPRAISER COMPETENCE

    THE APPRAISER IS FAMILIAR WITH APPRAISER INDEPENDENCE PROVISIONS WHICH HAVE TAKEN THE PLACE OF HVCC AS PER THE DODD-FRANK ACT.
    DURING THE COURSE OF THIS APPRAISAL ASSIGNMENT, THE APPRAISER WAS MADE AWARE OF NO ACTS OR PRACTICES THAT VIOLATE APPRAISER
    INDEPENDENCE PROVISIONS. THE APPRAISER HAS NOT BEEN PROVIDED, BY AN AMC OR LOAN PRODUCTION STAFF, WITH AN ESTIMATED OR TARGET
    VALUE. BY ACCEPTING AND COMPLETING THIS ASSIGNMENT, THE APPRAISER IS CERTIFYING THE HE IS COMPETENT WITH THE SPECIFIC PROPERTY
    TYPE AND GEOGRAPHIC LOCATION OF THE SUBJECT PROPERTY.

    SPECIAL DISCLOSURES

    CHRISTIAN E. PAULSEN, OREGON CERTIFIED RESIDENTIAL APPRAISER #CR00224 HAS INSPECTED THE SUBJECT PROPERTY AND THE EXTERIOR OF THE
    COMPARABLES AND UNLESS OTHERWISE STATED IS SOLELY RESPONSIBLE FOR THE CONTENTS OF THIS APPRAISAL REPORT. THE APPRAISER HAS NO
    PERSONAL INTEREST IN THE SUBJECT PROPERTY AND HAS NOT PROVIDED ANY SERVICES WITH REGARD TO THE SUBJECT PROPERTY OVER THE
    PREVIOUS THREE YEARS.

    THE REPORTED ANALYSES, OPINIONS, AND CONCLUSIONS WERE DEVELOPED, AND THIS REPORT HAS BEEN PREPARED, IN CONFORMITY WITH THE
    REQUIREMENTS OF THE CODE OF PROFESSIONAL ETHICS AND STANDARDS OF PROFESSIONAL APPRAISAL PRACTICE OF THE APPRAISAL INSTITUTE,
    WHICH INCLUDE THE UNIFORM STANDARDS OF PROFESSIONAL APPRAISAL PRACTICE.

    THE USE OF THIS REPORT IS SUBJECT TO THE REQUIREMENTS OF THE APPRAISAL INSTITUTE RELATING TO REVIEW BY ITS DULY AUTHORIZED
    REPRESENTATIVES.

    THE SIGNATURE AND PASSWORD FOR THE REPORT ARE PROTECTED AND CANNOT BE CHANGED BY READER. IF ANY PART OF THE REPORT IS
    REMOVED OR CHANGE BY THE READER OR THIRD PARTY, THIS REPORT IS CONSIDERED VOID.




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                                                      PAULSEN APPRAISAL INC.
                                                         PLAT MAP                                 File No. F23-182
             Case 2:23-bk-00373-FMD                     Doc 62 Filed 07/12/23                    Page    16 of 27
Borrower                                                       RONNIE SAPP
Property Address                                                 30620 SW ROSE LN
City             WILSONVILLE        County             CLACKAMAS           State            OR         Zip Code          97070
Lender/Client                  RONNIE SAPP                    Address




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Borrower                                                         RONNIE SAPP
Property Address 30620 SW ROSE LN
City              WILSONVILLE                County              CLACKAMAS                 State    OR    Zip Code           97070
Lender/Client                     RONNIE SAPP                Address




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                                                             PAULSEN APPRAISAL INC.
                                  FLOOD
              Case 2:23-bk-00373-FMD    MAP
                                      Doc 62ADDENDUM
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Borrower                                                                RONNIE SAPP
Property Address     30620 SW ROSE LN
City             WILSONVILLE           County                 CLACKAMAS                State              OR              Zip Code             97070
Lender/Client                     RONNIE SAPP                         Address




                                                                                SUBJECT




Flood Map Legends                                               Flood Zone Determination
Flood Zones                                                     In Special Flood Hazard Area (Flood Zone):                              In
       Areas inundated by 100-year flooding                     Within 250 ft. of multiple flood zones?                         Within 250 feet
       Areas inundated by 500-year flooding                     Community:                                            410025
       Areas of undetermined but possible flood hazards         Community Name:                                  WILSONVILLE, CITY OF
       Floodway areas with velocity hazard                      Map Number:                                        41005C0242D
                                                                Zone:          AE       Panel:           0242D           Panel Date:            06/17/2008
       Floodway areas
                                                                FIPS Code:                41005           Census Tract:                   0227.10
       COBRA zone                                               This Report is for the sole benefit of the Customer that ordered and paid for the Report
                                                                and is based on the property information provided by that Customer. That Customer's
                                                                use of this Report is subject to the terms agreed to by that Customer when accessing
                                                                this product. THE SELLER OF THIS REPORT MAKES NO REPRESENTATIONS OR
                                                                WARRANTIES TO ANY PARTY CONCERNING THE CONTENT, ACCURACY, OR
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Borrower                                                              RONNIE SAPP
Property Address    30620 SW ROSE LN
City             WILSONVILLE              County          CLACKAMAS                 State    OR         Zip Code           97070
Lender/Client                        RONNIE SAPP                  Address

                                                                                                       FRONT OF
                                                                                                       SUBJECT PROPERTY
                                                                                                       30620 SW ROSE LN
                                                                                                       WILSONVILLE, OR 97070




                                                                                                       REAR OF
                                                                                                       SUBJECT PROPERTY




                                                                                                       STREET SCENE




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Property Address    30620 SW ROSE LN
City             WILSONVILLE              County          CLACKAMAS                 State    OR         Zip Code            97070
Lender/Client                        RONNIE SAPP                  Address

                                                                                                         KITCHEN




                                                                                                         LIVING ROOM




                                                                                                         FAMILY ROOM




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Property Address     30620 SW ROSE LN
City WILSONVILLE                        County          CLACKAMAS                State     OR         Zip Code          97070
Lender/Client RONNIE SAPP                                       Address

                                                                                                       POWDER BATHROOM




                                                                                                       DINING




                                                                                                       BATHROOM




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City             WILSONVILLE              County          CLACKAMAS                 State    OR         Zip Code          97070
Lender/Client                        RONNIE SAPP                  Address

                                                                                                         BEDROOM 1




                                                                                                         BEDROOM 2




                                                                                                         LOWER BEDROOM




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                                                                                                         LOWER BONUS




                                                                                                         VIEW AND DOCK PILINGS




                                                                                                         YARD




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Borrower                                                              RONNIE SAPP
Property Address    30620 SW ROSE LN
City             WILSONVILLE              County          CLACKAMAS                 State    OR         Zip Code            97070
Lender/Client                        RONNIE SAPP                  Address

                                                                                                       COMPARABLE #                 1
                                                                                                         37300 NE WILSONVILLE RD
                                                                                                         NEWBERG, OR 97132




                                                                                                       COMPARABLE #                 2
                                                                                                         23765 BUTTEVILLE RD
                                                                                                         AURORA, OR 97002




                                                                                                       COMPARABLE #                 3
                                                                                                         6549 FAILING ST
                                                                                                         WEST LINN, OR 97068




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Borrower                                                              RONNIE SAPP
Property Address    30620 SW ROSE LN
City             WILSONVILLE              County          CLACKAMAS                 State    OR         Zip Code             97070
Lender/Client                        RONNIE SAPP                  Address

                                                                                                       COMPARABLE #                  4
                                                                                                         13348 FIELDING RD
                                                                                                         LAKE OSWEGO, OR 97034




                                                                                                       COMPARABLE #                  5
                                                                                                         7130 SW MONTGOMERY WAY
                                                                                                         WILSONVILLE, OR 97070




                                                                                                       COMPARABLE #                  6
                                                                                                         6740 SW MONTGOMERY WAY
                                                                                                         WILSONVILLE, OR 97070




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Borrower                                                            RONNIE SAPP
Property Address                                                      30620 SW ROSE LN
City             WILSONVILLE         County             CLACKAMAS                 State      OR       Zip Code      97070
Lender/Client                  RONNIE SAPP                  Address




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